               IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                    Case No. 1:17-CV-184 (CCE) (LPA)

BARRY HONIG, an individual,

                  Plaintiff,

      v.

ROBERT LADD, an individual; MGT
CAPITAL INVESTMENTS, INC., a
Delaware corporation; TERI BUHL,
an individual; and DOES 1-20,

                  Defendants.




   REPLY BRIEF IN FURTHER SUPPORT OF DEFENDANT TERI BUHL’S
     MOTION FOR RECONSIDERATION OR, IN THE ALTERNATIVE,
      CERTIFICATION OF ORDER FOR INTERLOCUTORY APPEAL



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          Defendant Teri Buhl respectfully submits this reply memorandum of law in further

support of her motion for this Court to reconsider, or in the alternative, certify for

interlocutory appeal, the portion of its decision dated September 7, 2017 (the

“Decision”), which denied Buhl’s motion to dismiss the Complaint for lack of personal

jurisdiction.1

                                        ARGUMENT

    I.       THE COURT SHOULD RECONSIDER ITS DECISION TO ASSERT
             PERSONAL JURISDICTION OVER BUHL BECAUSE IT IS BASED
             ON CLEAR ERRORS OF LAW AND FACT

          Due Process does not permit this Court to exercise personal jurisdiction over Teri

Buhl on this record. The Due Process Clause precludes a court from exercising

jurisdiction over a non-domiciliary unless the defendant has “purposefully directed” her

conduct to the forum state. J. McIntyre Mach., Ltd. v. Nicastro, 564 U.S. 873, 886

(2011); Asahi Metal Indus. Co. v. Superior Court of California, Solano Cty., 480 U.S.

102, 112 (1987). No rule fashioned by the district or appellate courts, be it the

“conspiracy theory” of jurisdiction or something else, permits a court to circumvent the

requirements of Due Process.




1
 Unless otherwise defined herein, capitalized terms have the meaning ascribed to them in
Buhl’s opening brief in support of her Motion for Reconsideration or, in the alternative,
Certification and the opening and reply briefs in support of her Motion to Dismiss the
Complaint.
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       A.     Plaintiff mischaracterizes the impact of Walden v. Fiore.

       The United States Supreme Court has explained in unambiguous terms that a court

may not exercise jurisdiction over an out-of-state defendant consistent with Due Process

“by demonstrating contacts between . . . third parties . . . and the forum state.” Walden v.

Fiore, 134 S. Ct. 1115, 1126 (2014). The relevant forum contacts must be “create[d]” by

the defendant. Id. See also Asahi Metal Indus. Co, 480 U.S. at 112 (“The ‘substantial

connection’. . . between the defendant and the forum State necessary for a finding of

minimum contacts must come about by an action of the defendant purposefully directed

toward the forum State.”) (emphasis in original).

       Thus, to the extent the “conspiracy theory” of jurisdiction purports to permit

courts to exercise personal jurisdiction over an out-of-state defendant solely because she

is alleged to have “conspired” with an in-state defendant (whether or not she even knew

that the person with whom she allegedly conspired was in the forum state), that theory

does not pass constitutional muster. As the Walden Court explained, a defendant can

only be subject to a forum’s jurisdiction “based on his own affiliation with the State.” 134

S. Ct. at 1123.

       The Decision erred when it distinguished Walden on the basis that it was a case

“where all of the contacts between the plaintiff and defendant happened” outside the

forum state. Decision at 4; see also Opposition at 8. To the contrary, the defendant DEA

agent in Walden was alleged to have had at least three different communications with the

plaintiffs’ representative in Nevada: a phone call the day after the alleged wrongful

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seizure of plaintiffs’ property and two separate mailings of documents from the plaintiffs’

attorney the following month. These communications formed the basis of plaintiffs’

claim that the agent wrongfully retained plaintiffs’ property even after learning that the

seized funds were not drug-related. 134 S. Ct. at 1119. Moreover, when the agent

wrongfully seized plaintiffs’ property, he knew they resided in Nevada and that they were

boarding a plane to Nevada. Id. The defendant in Walden had more significant suit-

related contact with the forum-state than Buhl is alleged to have in this action. He at least

knew that he was communicating with residents of the forum state. Yet the Supreme

Court found even those contacts insufficient because the defendant did not “create[]”

them; a third party did. Id at 1126.

       That is why North Carolina state courts and numerous federal courts around the

country have declined to adopt the conspiracy theory of jurisdiction, a theory that

purports to permit a court to exercise personal jurisdiction over a defendant based on the

contacts of a third party. See Opening Brief at 5-6, 14. Honig is mistaken when he

asserts (Opposition at 7) that North Carolina state law is irrelevant to this question. Far

from it. As explained in Martin v. Eide Bailly LLP, the federal service of process

provision expressly provides that (with certain exceptions not relevant here), a federal

court may only exercise personal jurisdiction over a defendant if the defendant “is subject

to the jurisdiction of a court of general jurisdiction in the state where the district is

located.” Fed. R. Civ. P. 4(k)(1); Martin v. Eide Bailly LLP, 2016 WL 4496570, at *4

(S.D. Ind. Aug. 26, 2016). If a defendant is not subject to personal jurisdiction in a North

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Carolina state court, she cannot be subject to jurisdiction in a federal district court sitting

within the State. See id. Honig’s attempt to distinguish Martin on the grounds that the

Indiana district court only looked to state law because the Seventh Circuit had not yet

opined on the conspiracy theory (Opposition at 7 n. 1) only strengthens the argument that

this Court should be guided by post-Walden decisions from North Carolina state courts

because the Fourth Circuit similarly has not opined on the validity of the conspiracy

theory since Walden.

       Plaintiff can point to only one North Carolina federal court case – BeoCare Grp.,

Inc. v. Morrissey, 124 F. Supp. 3d 696 (W.D.N.C. 2015) – that has upheld the conspiracy

theory of jurisdiction since Walden. And even assuming that case was decided correctly,

its facts bear absolutely no resemblance to the facts of this case. In BeoCare, the plaintiff

provided the court with numerous emails between the out-of-state defendant and its

alleged co-conspirator (an employee of its competitor) discussing the misappropriation of

Plaintiff’s medical samples. Those emails, the court observed, contained a signature

block that was “significantly large . . . , has a link to [plaintiff’s] website, and contains

BeoCare’s address in Hudson, North Carolina,” making it reasonable to infer that the

out-of-state defendant “knew [its co-conspirator] was employed in North Carolina.” Id. at

*702 (emphasis added). Honig has proffered no such emails or similar evidence.

BeoCare, to the extent it was decided correctly, only demonstrates how insufficient the

jurisdictional allegations are against Buhl.




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       In contrast to Beocare, Honig has failed to allege that Buhl had an affiliation with

the State of North Carolina. The only forum contacts alleged are that – with respect to

two of the sixteen statements at issue in this lawsuit2 – Buhl purportedly received

information from Ladd at unspecified times and in unspecified manners between

September 2016 and February 2017, a period during which, Honig alleges, Ladd resided

in North Carolina. Complaint ¶ 1; Honig Decl. (Dkt. 35) ¶¶ 5-6, 10-11; Anderson Decl.

(Dkt. 36) ¶ 5.

       The statements that give rise to Plaintiff’s claims were published on Buhl’s

website, teribuhl.com, which she operates from New York. See Compl. ¶¶ 2, 17-18, 24,

28, 32, and 35; Buhl Decl. ¶¶ 18, 20. Buhl performed no work in connection with the so-

called “Defamatory Articles” in North Carolina. Buhl Decl. ¶¶ 18-24. Buhl never

travelled to the state of North Carolina in connection with the investigation or drafting of

the so-called “Defamatory Articles” (Id. ¶¶ 20-24), nor did she ever place or receive a

telephone call, or exchange an email or any other communication with, any person she

knew to be located in North Carolina. See Buhl Reply Decl. ¶¶ 2-3.

       B.        Plaintiff improperly substitutes argument for facts.

       While Honig is correct that a “factual dispute must be resolved in the light most

favorable to the Plaintiff” (Opposition at 16), Honig has not alleged a single fact that

disputes Buhl’s sworn statements. He has only argued through his counsel in his briefs



2
 See Compl. ¶¶ 17-18, 24(d), 24(e), 24(f), 24(g), 24(h), 24(i), 24(j), 27, 28(a), 28(b),
32(a), 32(b), 35).
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that Buhl “knew” Ladd was in North Carolina when she communicated with him. This

argument is based on the allegations that there are two public records reflecting that Ladd

and MGT resided in North Carolina and that a third party perceived that Ladd and Buhl

were “friendly” (and therefore, apparently, Buhl must have known that he had moved to

North Carolina). Opposition at 15. None of these “facts” demonstrate that Buhl knew

Ladd was in North Carolina when they purportedly communicated.

       Against Honig’s counsel’s speculative conclusions, the Court has before it

Honig’s own allegations that Buhl resides in New York and two sworn declarations from

Buhl that confirm that – even if she did ever communicate with Ladd – she had no idea

he was in North Carolina. Moreover, though Honig cites an SEC filing and a corporate

website page reflecting MGT’s North Carolina address, there are more public documents

– including a pleading filed by Honig himself – that reflect that Ladd and MGT were in

New York in late 2016 and early 2017, making it more reasonable for Buhl to infer that

Ladd was in New York when she allegedly communicated with him. For example,

Ladd’s Bloomberg profile from October 2016 and his LinkedIn profile both reflect

MGT’s address in Harrison, NY. Neither refer to North Carolina. See Wolff Reply Decl.,

Exs. A-B. Honig’s complaint against Ladd/MGT in a separate lawsuit filed in New York

pleads that Ladd was frequently present in New York during (and after) this time period.

See Wolff Decl., Ex. 1 ¶ 17 (Ladd attended a meeting in New York in April 2016); id. ¶

46 (Ladd met with Honig in New York on January 25, 2017); id. ¶ 15 (“until recently,

Defendant MGT’s only office and headquarters was located in Harrison, New York,” and

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they engaged in “substantial” conduct in New York). In addition, on September 8, 2016,

MGT held its annual Shareholder’s Meeting in New York (Wolff Reply Decl. Ex. C) and

MGT’s own SEC filing, dated October 5, 2016, locates its principal corporate office in

Harrison, NY. Laverne Decl. Ex. D.

         Honig’s assertion that the Court “heard, considered and rejected” Buhl’s factual

argument (Opposition at 12) is simply not reflected in the Decision. None of these public

records proffered by Buhl is cited, referenced, or addressed in any way anywhere in the

Decision. Instead, the Decision appears to have relied only on Honig’s proffered public

records, the allegation that Buhl and Ladd were “in regular contact” and had “at least one

personal meeting” (which was not even alleged to have occurred in North Carolina

(Anderson Dec. ¶ 8)), and the allegation that Buhl placed and received telephone calls to

Ladd’s cell phone (which has a New York area code (Hong Dec. ¶ 4)). Decision at 5.

The Court’s conclusion that the record “supports the inference that Ms. Buhl knew her

co-conspirators were in North Carolina” is based on a clear error of fact.

   II.      ALTERNATIVELY, THE COURT SHOULD CERTIFY THE
            INTERLOCUTORY DECISION FOR APPEAL

         If the Court is not persuaded that current precedent precludes it from exercising

personal jurisdiction over Buhl, it should certify its Decision to the Court of Appeals for

the Fourth Circuit to seek clarity on the following controlling issues of law:

   • The Fourth Circuit has not had occasion to consider the viability of the conspiracy

         theory since Walden and since a host of other federal courts have observed that the

         conspiracy theory of jurisdiction is no longer good law. The Fourth Circuit has
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       not had occasion to consider whether the conspiracy theory of jurisdiction is

       available in federal courts sitting in North Carolina, a state whose own courts have

       rejected the conspiracy theory. Even if the conspiracy theory is viable, the Fourth

       Circuit has not had occasion to specifically consider whether it permits the

       exercise of personal jurisdiction over a defendant who had no knowledge that her

       alleged co-conspirator was in the forum state.

       The Fourth Circuit will almost certainly reconsider the viability and scope of the

conspiracy theory at some point in the near future. Buhl respectfully submits that it would

be more efficient and protective of Due Process for the Fourth Circuit to do so now,

rather than wait until a later date when this out-of-state Defendant has already been

subjected to invasive discovery and forced to defend herself in a foreign jurisdiction

hundreds of miles from her home.

                                       CONCLUSION

       For the foregoing reasons and the reasons set forth in Buhl’s opening brief, Buhl

respectfully requests that the Court reconsider its Decision and dismiss the Complaint as

to Buhl for lack of personal jurisdiction, or, in the alternative, amend the Decision to

certify it for interlocutory appeal.




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     Respectfully submitted this 26th day of October, 2017.


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                         CERTIFICATION OF WORD COUNT

       Pursuant to Local Rule 7.3(d)(1), the undersigned counsel certifies that the

foregoing reply brief complies with Local Rule 7.3(d)(1) and is no more than 3,125

words, excluding the case caption, table of contents, table of authorities, signature lines,

and certificate of service.

                                                                                               :
                                           /s/ Erica A. Wolff




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                            CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the Court

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